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 4                                 UNITED STATES DISTRICT COURT
 5                                         DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )                    Case No. 2:12-cr-00004-APG-GWF
                                               )
 9   vs.                                       )                    ORDER
                                               )
10   DAVID CAMEZ,                              )
                                               )
11                     Defendant.              )
     __________________________________________)
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13          This matter is before the Court on the Amended Status Report re Inmate Access to
14   Discovery (#371) filed May 22, 2013. Upon review and consideration,
15          IT IS ORDERED that Defendant’s counsel is to submit a proposed order pursuant to the
16   status report and serve it on counsel of the other parties in this action.
17          DATED this 28th day of May, 2013.
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19                                                  ______________________________________
                                                    GEORGE FOLEY, JR.
20                                                  United States Magistrate Judge
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